American Association of International Medical Graduates
             Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 1 of 50                        PageID #: 287

                                  There are no significant changes since the last site visit. There is some
                                  improvement noted in the permanent campus building that sits next to a bottling
                                  plant in an industrial area of Vieux Fort. There is a small stable faculty who each
                                  teach several courses. Nearly all are foreign trained with the exception of 2
                                  Spartan graduates who never completed residencies. There is no alteration in the
                                  minimal four trimester basic science curriculum which is taught in a piecemeal
                                  approach. It is impossible for all the basic science and pre-clinical topics to be
                                  covered in such a short time frame. Two cadavers, one male and one female, are
                                  present in the tiny anatomy lab. There is a small library with internet access but the
                                  holdings of books and journals are insufficient. There is no listing of hospital
                                  affiliations and students must pay own clerkship fees, which can be several
                                  hundred dollars a month. 66 weeks of required core clerkships includes only 6
                                  weeks of Pediatrics but 20 weeks of core surgery and surgical subspecialties. The
                                  main teaching hospital is a small facility for civil servants in Juarez, Mexico, which
                                  tends to run a low census. There is little structure to the teaching program and
                                  students must often find there own clerkships in the USA. Federal loans were
                                  withdrawn 1997. Despite establishment in 1981 and claims of licensed graduates
                                  in 40 states, this school can provide the names of fewer than 60 licensed
                                  graduates. There is a history of legal sanctions by California and injunctions by the
                                  Texas Attorney General.

                                       ●   St. James School of Medicine,
                                           Bonaire, Netherlands Antilles, 2000
                                           Deficiencies
                                           Section I a,b,c,d,f,g,h
                                           Section II a,b,c,d,e,f,g,h,j,k,l
                                           Section III b,c,d,g,h,i,j,k
                                           Section IV d,f,g,l,k,m,n
                                           Section V b,c,d,e,f,h,j,k,l,m,n,o
                                           Section VI a,b,c,d,e,f,g,h,I,j
                                           Section VII b,c,d,e,f,g,i
                                           Section VIII c

                                  This school began by taking transfer students to clerkships before basic science
                                  instruction actually commenced. The basic science curriculum attempts to cram the
                                  first two years of medical school into four short trimesters. The facility consists of a
                                  few classrooms in a very old school building with no gross anatomy lab or
                                  cadavers. There are a few microscopes and improvements in classroom
                                  equipment but the overall impression is one of high school science facility, and a
                                  poor one at that. There is limited internet access but no real medical library. Up to
                                  date journals and texts are woefully absent. There is high faculty turnover and
                                  some teachers are also students. Some faculty teach many courses that are often
                                  not within their field of expertise. This school has minimal admission standards and
                                  has a high percentage of transfer students. Recruiting is directed toward granting
                                  advanced standing to allied health professionals; a policy clearly stated on the web
                                  page. Allied Health professionals pursuing this course of study are at risk for
                                  licensing problems. Another program targets foreign trained MD’s in a
                                  “rehabilitation” program. There is no listing of clerkship affiliations in the catalog or
                                  on the web page and applicants are given false assurances that their clerkships
                                  will meet “greenbook” standards by recruiters.
                                  St. Martinus University, Curacao, Netherlands Antilles, 2003


http://www.aaimg.com/list/medical.html (4 of 7) [4/21/2005 3:29:03 PM]
American Association of International Medical Graduates
             Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 2 of 50                       PageID #: 288
                                  It appears every Dutch island with the exception of Aruba now has a medical
                                  school. There is a sketchy web page showing a minimal basic science program
                                  crammed into four short trimesters. The new medical is located in Otrabanda, a
                                  charming, older area trying to attract business and tourist interest. The facility is a
                                  cavernous, old school building sorely in need of renovation for basic medical
                                  school facilities such as labs and a library. There were a handful of students and
                                  three faculty (one was the Dean) present. The Dean was a former administrator at
                                  the University of Sint Eustatius. This school hopes to attract Venezuelan and South
                                  American students with plans for extensive development and charges a great deal
                                  of tuition for a practically non-existent program. There are no loan programs to
                                  date. Curacao is a large island with one large major teaching hospital and more
                                  sophisticated medical community than most Caribbean islands. For the time being,
                                  St. Martinus rates Global Deficiencies Categories I-VIII.
                                  St. Mary’s School of Medicine, Castries, St. Lucia, West Indies, 2003
                                  This school first surfaced in the Pacific Basin with a WHO listing in the Cook
                                  Islands, Rarotonga. There was an aborted effort to hold classes in the Hawaiian
                                  Islands resulting in the loss of tuition to many students. The promoter, who had an
                                  office in El Paso, Texas, then began instruction across the border in Juarez,
                                  Mexico, following the time honored tradition of CAHSU and Spartan. Complaints to
                                  the Texas Attorney General by students led to governmental scrutiny and this
                                  school vanished from site for a few years. It has resurfaced with a web site and
                                  alleges a campus now on the island of St. Lucia. The address on St. Lucia is
                                  actually a post office box and there was no evidence of a campus. Furthermore,
                                  the World Health Organization is unable to verify any request from the Ministry of
                                  Health of St. Lucia to list this school in the World Directory of Medical Schools. St.
                                  Mary’s WHO listing has been removed from the Cook Islands. Students are not
                                  approved as of the fall of 2003 to take the USMLE exams by the ECFMG. The web
                                  site gives no names to contact other than “Admissions” which is how inquiries are
                                  answered by email requests. Students are not required to pay an application fee by
                                  must put down a non refundable matriculation of $950.00. St. Mary’s is more than
                                  deserving of the Global Deficiencies, Categories I-VIII. There are probably a few
                                  confused souls who will actually send a deposit to this place.

                                       ●   Grace University,
                                           Belmopan, Belize, Central America, 2000
                                           Deficiencies
                                           Section I a,b,c,d,f,gh
                                           Section II a,b,c,d,e,f,g,h,j,k.l
                                           Section III a,b,c,d,e,f,g,h,I,j,k
                                           Section IV c,f,g,I,k,m
                                           Section V a,b,c,d,e,f,h,j,k,l,m,n
                                           Section VI b,c,d,e,f,g,h,I,j
                                           Section VII b,c,d,e,f,g,h
                                           Section VIII a,c,d

                                  Grace University has been in existence for over 15 years and reinvented itself on
                                  several occasions. Opening initially on the island of Nevis with a minimal operation,
                                  a Cambridge, England, “campus” was subsequently opened. The site visit in 2001
                                  revealed a shabby, run down upstairs flat on the outskirts of Cambridge promoting
                                  a distance learning program with advanced standing for allied health professionals.
                                  The school closed briefly when it lost its charter then obtained registration in
                                  Belize. The operation moved to the capital, Belmopan, with promises of building a

http://www.aaimg.com/list/medical.html (5 of 7) [4/21/2005 3:29:03 PM]
American Association of International Medical Graduates
             Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 3 of 50                         PageID #: 289
                                  new campus. Grace remains true to its prior modus operandi and has its classes in
                                  a rented two flat building on a dirt side road in a residential area. A handful of
                                  students hear lectures by a few visiting faculty in the made over living room and
                                  bedroom “classrooms” in this dreary place. There is no catalog and the web site
                                  misrepresents the program, facility and faculty members. There is no list of hospital
                                  affiliations. This school has run out of the promoter’s home in Florida despite
                                  regulations by the Florida Department of Education that requires an approval
                                  process. Run from this one.

                                       ●   Central American Health Sciences University,
                                           Belize City, Belize, Central America, 1996
                                           Deficiencies
                                           Section I a,b,c,d,f,h
                                           Section II a,b,c,e,f,g,j,k,l
                                           Section III b,cd,e,g,h,k
                                           Section IV a,b,c,d,f,g,j,l,m
                                           Section V b,c,d,e,f,h,j,k, l,m,n
                                           Section VI b,c,d,e,f,g,h,I,j
                                           Section VII c,d,e,g,I
                                           Section VIII d,e

                                  There are few changes since the last site visit. The school has moved further from
                                  Belize City into an area designated as the “free zone.” This is a guarded area for
                                  businesses investment and other entities. The building is an improvement over the
                                  former structure but nevertheless rented. There is a large library with computer
                                  access but holdings are sparse and most woefully outdated. Students live in
                                  nearby small village; this is an isolated area. The anatomy lab held two desiccated
                                  cadavers with dirty dissection tools lying about on trays. There is minimal faculty
                                  presence; most are part-time. The handful of students present during the site visit
                                  state they spend only two terms in Belize then go to the Juarez, Mexico, “campus.”
                                  Our site visitors confirmed that this is, in fact, a store front facility directly across
                                  the border from El Paso, Tx. The school does not publish a hospital affiliation list.
                                  There is a history of sanctions by the Texas Attorney General.

                                       ●   American International School of Medicine,
                                           Liliendaal, East Coast Demerara, Guyana, South America
                                           Deficiencies
                                           Section I b,c,d,f,g,h
                                           Section II a,c,d,e,f,g,h,j
                                           Section III b,c,d,e,h,i,k
                                           Section IV a,c,f,g,m
                                           Section V b,d,e,f,h,j,k,l,m,n,o
                                           Section VI a,b,c,d,e,f,g,h,I,j
                                           Section VII b,d,e,f,g
                                           Section VIII a,c

                                  Application to this school can only be made online and faxed to a number in
                                  Massachusetts. Information available on the web site is still incomplete. Minimal
                                  facilities and labs still characterize this school which gives advanced standing to
                                  allied health professionals and clerkship credit for on the job training. There is
                                  some experience available in local hospitals. There are few fulltime qualified faculty
                                  members and no list of clerkships. The promoter is a graduate of Grace University


http://www.aaimg.com/list/medical.html (6 of 7) [4/21/2005 3:29:03 PM]
American Association of International Medical Graduates
             Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 4 of 50                      PageID #: 290
                                  with no postgraduate training. Tuition refunds are given only in the case of proven
                                  serious illness per the web page.

                                       ●   Centro de Estudios Universitarios Xochimilco,
                                           Ensenada, Mexico
                                           Deficiencies
                                           Section I b,c,d,f,gh
                                           Section II a,b,c,e,f,g,h,I,j,l
                                           Section III b,cd,h,I,k
                                           Section IV a,f,g,k,m
                                           Section V d,f,g,h,l,n
                                           Section VI b,c,d,e,f,g,h,I,j
                                           Section VII c,d,e,f,g,I
                                           Section VIII a,b,d

                                  This school has opened and closed in a number of locations in Mexico for the past
                                  15 years. It moved from central Mexico to the Baja peninsula to attract gullible
                                  Americans. It was featured in 1992 on a national investigative news program and
                                  subsequently lost U.S. Federal loans. The campus is still housed in a former hotel.
                                  There are no labs and few fulltime faculty. Admission standards, course
                                  attendance and testing requirements are lax. Faculty is primarily part-time and
                                  courses are taught in a haphazard order. There is no list of affiliated hospitals and
                                  haphazard clinical supervision.




http://www.aaimg.com/list/medical.html (7 of 7) [4/21/2005 3:29:03 PM]
American Association of International Medical Graduates
             Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 5 of 50                          PageID #: 291




                                  It is distressing to see so many new medical schools sprouting up on virtually any
                                  independent island or promoters using third world countries to set up “store front”
                                  type operations in the United Kingdom. The title of physician is honored and
                                  esteemed throughout the world. Numerous television series glamorize the role of
                                  physician as living a dynamic, heroic lifestyle. Unfortunately, many promoters in the
                                  offshore medical community exploit this image by setting up substandard
                                  proprietary schools that prey on the naive and under qualified applicant.

                                  At AAIMG we get dozens of emails each month from prospective applicants who
                                  ask for an evaluation of their qualifications. A typical applicant unfortunately, has
                                  an undergraduate GPA below 3.0, no MCATS or total MCAT scores under 20.
                                  Most of these young people have been accepted at a substandard school that
                                  charges a tuition rate higher than many US medical schools. All we can do is warn
                                  them that a poor basic science education and a haphazard clerkship program
                                  predict little or no success in passing the exceptionally difficult USMLE Steps I and
                                  II. According to an analysis of USMLE passing rates by the Education Commission
                                  for Foreign Medical Graduates, U.S. citizens who are International Medical
                                  Graduates have lower passing rates and lower scores than foreign national IMG’s.
                                  The US citizen with an inferior education who fails to pass the USMLE exams
                                  cannot obtain a residency and will have little to show but a huge debt. Prospective
                                  medical students should consider the following WORDS OF CAUTION:

                                       ●   “Store Front” medical schools cannot offer
                                           the level or depth of education needed to
                                           pass the USMLE exams nor attract the
                                           best faculty.
                                       ●   Substandard schools often exaggerate or
                                           distort their poor USMLE passing rates.
                                           As the ECFMG does not release scores
                                           of individual schools, actual passing rates
                                           are difficult to verify. Beware of any
                                           unusually high claims of high passing
                                           rates that cannot be verified.
                                       ●   The recruiters are trained in high pressure
                                           sales tactics, with the same techniques
                                           that sell automobiles, aluminum siding and encyclopedias. Their goal is a
                                           sale; to make a profit for the school, often in the guise of flattery and concern
                                           for your welfare.
                                       ●   The tuition charged by most substandard schools is very high. Some of these
                                           schools have private loans from the secondary medical education loan
                                           market. It is important to note that some of these loan companies do not
                                           rigorously examine the quality of foreign medical schools they approve for
                                           loans.
                                       ●   Interest rates charged in the secondary loan market are not deferred; the

http://www.aaimg.com/list/provisional.html (1 of 2) [4/21/2005 3:29:04 PM]
American Association of International Medical Graduates
             Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 6 of 50                        PageID #: 292
                                           interest clock starts clicking as soon as the loan is paid out. Numerous fees
                                           may also be charged. Loans may also be made for living expenses; thus
                                           increasing student debt level.
                                       ●   The loan debt from secondary market loans is not dischargeable in
                                           bankruptcy; this means payment default will be rigorously pursued by the
                                           loan organization.
                                       ●   The reputable schools often charge a higher tuition rate but offer a more
                                           rigorous education and are likely to have FFEL or internal loan programs.
                                       ●   STATE LICENSING BOARDS are becoming increasingly aware of
                                           substandard schools, especially those offering advanced standing and a
                                           medical degree by distance learning. Denial of a license to practice to any
                                           physician is reportable on all licensing board applications and to credential
                                           verification organizations. Acceptance into a residency program does not
                                           guarantee future licensure.

                                  In summary, the graduate with an MD who cannot pass the USMLE exams has
                                  little to show but a huge debt that can be as high as $150,000. The interest clock
                                  continues to run; payments cannot be deferred after graduation unless the
                                  graduate has passed all exams and is engaged in postgraduate training. Job
                                  prospects are limited as is earning power and the Doctor of Medicine is little more
                                  than an empty title. The loan repayment will be very high and any graduate in
                                  payment default will vigorously pursued. Years better spent in pursuit of another
                                  career will have been lost.




http://www.aaimg.com/list/provisional.html (2 of 2) [4/21/2005 3:29:04 PM]
American Association of International Medical Graduates
             Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 7 of 50                     PageID #: 293




                                       ●   St. Christopher University
                                       ●   Kigezi International
                                       ●   Medical College of London
                                       ●   London Medical College

                                  Since 1996, the United Kingdom has become a site of
                                  convenience for new medical schools chartered in
                                  other countries. The medical school promoters obtain a
                                  World Health Organization listing but have little to no
                                  presence in the country. They rent offices and a few
                                  classrooms at local colleges in the U.K and operate a
                                  “campus” and program leading to the Doctor of
                                  Medicine degree. Cambridge, England, is an ancient university town and home to
                                  many prestigious British colleges that was once home to three such schools: Grace
                                  University (chartered in the Caribbean then Central America), St. Christopher
                                  (chartered in Senegal) and Kigezi (chartered in Uganda) all have had a “campus”
                                  there. As the story goes, the promoters of St. Christopher and Kigezi got their start
                                  as students and faculty at Grace. The recent site visit shows only Kigezi remaining
                                  in Cambridge. St. Christopher now rents facilities at the Polytechnic University in
                                  Luton and Grace has departed to Belize, where it actually holds a charter.

                                  Recently, two new schools catering to U.S. citizens have appeared in London. The
                                  Medical College of London was started by a former administrator at St. Christopher
                                  and claims to exist through a relationship with the College of Medicine and Health
                                  Sciences, on the small island of St. Lucia. The World Health Organization shows a
                                  listing for this name through December 2001. There is no facility bearing this name
                                  on St. Lucia and the island government is not familiar with the school. Enter
                                  London Medical College advertising an M.D. by distance learning on the web site
                                  of International University of the Health Sciences. The relationship appears short
                                  lived as London Medical College appears to have terminated the relationship as of
                                  June 3, 2003.

                                  St. Christopher University School of Medicine,
                                  Luton, England, 2000
                                  Deficiencies
                                  Section I a,b,c,d,f,g
                                  Section II b,c,e,f,g,j,k,l
                                  Section III a,b,c,d,f,h,I,k
                                  Section IV c, d,f,g,
                                  Section V b,c,d,e,f,h,j,k,l,m,n
                                  Section VI a,b,c,d,e,f,g,I,j
                                  Section VII b,e,f,
                                  Section VIII e

                                  St. Christopher has given up the more prestigious environs of Cambridge and


http://www.aaimg.com/list/cambridge.html (1 of 3) [4/21/2005 3:29:05 PM]
American Association of International Medical Graduates
             Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 8 of 50                         PageID #: 294
                                  moved its operation to the more mundane campus of Luton University, just north of
                                  London. Other than downscaling the location, little has changed about this
                                  operation. The labs and classrooms are a few rented rooms from the local
                                  university and the bulk of the faculty are undergraduate Luton faculty moonlighting
                                  or unemployed M.D.’s from former British colonies who are unable to pass the
                                  PLAB or practice in the U.K. There are a few Ph.D.’s that are both students and
                                  teachers. There are a large number of transfer students from the Dominican
                                  Republic and other Caribbean schools, many with a history of failures. The
                                  operation in Senegal is virtually non-existent; a call to the Senegal “office” is
                                  answered by a local lady with limited English who cannot name any local faculty, or
                                  students or describe any teaching activities at the hospital. Although this school
                                  only opened in 2000, it advertises US clerkships in 72 “Greenbook” hospitals and
                                  board passing rates of 100% in 2000 and 82% in 2001. This type of advertising is
                                  not surprising since the promoter is a graduate and former vice dean of Grace
                                  University who never completed postgraduate training. St Christopher had a fiscal
                                  and credential relationship with the disastrous St. John's University School of
                                  Medicine, closed by the Attorney General of Oregon. See
                                  http://www.doj.state.or.us/releases/rel072500.htm.

                                  Kigezi International School of Medicine,
                                  Cambridge, England, 2000
                                  Deficiencies
                                  Section I a,b,c,e,f,h
                                  Section II b,f,g,k,l
                                  Section III a,b,c,d,h,j,k
                                  Section IV c,d,f,g,m
                                  Section V b,c,d,e,f,h,j,k,l,m,n
                                  Section VI a,b,c,de,f,g,j
                                  Section VII b,c,d,f
                                  Section VIII d

                                  There have been few fundamental changes since the last site visit. The core of the
                                  school remains housed in the same small three story facility in Cambridge but it in
                                  no manner meets the standards of a true medical school teaching facility. Students
                                  go to the nearby Eurocenter for classes and can use building facilities. The library
                                  has added holdings and computers. More names of instructors appear in the
                                  catalog but the bulk of instruction is done by part-time faculty. Clerkships are done
                                  primarily, according to students, in the U.K and there are options to go to a hospital
                                  in Uganda. There is no listing of advertised clerkships in the United States. There
                                  is a US office, however, in the small Ohio river town of Ripley. What is particularly
                                  astonishing is the high tuition rate charged by Kigezi for such a minimal program.

                                  Medical College of London, London and Greenwich-Medway, Kent (2001)
                                  This is a new school chartered as a U.S. Delaware corporation but has a base of
                                  operation in the United Kingdom. AAIMG did not learn of the existence of this
                                  facility until recently so a site visit has not yet been conducted. It advertises
                                  locations at Guys Campus of Kings College in London but will soon be moving to
                                  the University of Medway. There is a sketchy web page where vital information
                                  such as the curriculum, tuition information, clerkships affiliations etc. is missing.
                                  Not surprising, we recognize the promoter as a former Dean at St. Christopher.
                                  There is an advertised affiliation with St. Lucia College of Medicine and Health
                                  Sciences; a facility our site visitors failed to find on the island of St. Lucia. There


http://www.aaimg.com/list/cambridge.html (2 of 3) [4/21/2005 3:29:05 PM]
American Association of International Medical Graduates
             Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 9 of 50                    PageID #: 295
                                  was a WHO listing from January 1 to December 31, 2001, which has expired.
                                  AAIMG has contacted the WHO and General Medical Council and can find no
                                  separate WHO listing for Medical College of London or any new school in St.
                                  Lucia.

                                  London Medical College (Affiliated with IUHS)
                                  References to this school appeared on the web site of International University of
                                  the Health Sciences as an affiliated program. The link from the IUHS website was
                                  terminated in June of 2003. The WHO cannot verify a separate listing for London
                                  Medical College.




http://www.aaimg.com/list/cambridge.html (3 of 3) [4/21/2005 3:29:05 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 10 of 50                     PageID #: 296




                                      AMERICAN ASSOCIATION OF INTERNATIONAL MEDICAL GRADUATES
                                             EASTERN EUROPEAN MEDICAL SCHOOL REPORT

                                                                                                                  Back




                                            I. INTRODUCTION
                                           II. HISTORICAL OVERVIEW
                                          III. ADVANTAGES OF EASTERN
                                               EUROPEAN PROGRAMS
                                          IV. DISADVANTAGES
                                               OF EASTERN
                                               EUROPEAN PROGRAMS
                                           V. SUMMARY
                                          VI. EASTERN
                                               EUROPEAN PROGRAMS
                                               MEETING AAIMG CRITERIA
                                         VII. CONCLUSION
                                         VIII. AAIMG'S WORDS
                                               OF WISDOM TO
                                               PROSPECTIVE
                                               EASTERN EUROPEAN
                                               APPLICANTS


                                  INTRODUCTION

                                  The AAIMG report on Eastern European medical programs includes a small
                                  number of medical schools in various countries that offer an English language
                                  curriculum to foreign students. A majority of the programs leading to a Doctor of
                                  Medicine degree started after 1990 at reputable institutions accredited by their
                                  respective countries. There have been numerous social, economic and political
                                  changes in Eastern Europe and in the countries of the former USSR so that many
                                  schools have been renamed or listed under a new country by the World Health
                                  Organization. The World Directory of Medical Schools is is being revised and
                                  should be consulted when available. The ten schools visited by AAIMG for the
                                  initial Eastern European report in 2001 all met or exceeded evaluation standards of
                                  this organization. Since 2001, many new English language programs have opened,
                                  some in very remote locations.

                                  The association of an English language program with a historic university or a state
                                  approved medical school does not guarantee quality or adequate preparation to
                                  pass the difficult USMLE Steps I and II. Our site visitors in 2001 found numerous
                                  examples of disgruntled American students who felt they were mislead about the
                                  content of the medical curriculum, requirements for language fluency and local
                                  living conditions. AAIMG has received a substantial number of complaints about

http://www.aaimg.com/list/european.html (1 of 11) [4/21/2005 3:29:08 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 11 of 50                     PageID #: 297
                                  Eastern European schools. In nearly every case, the complaining student went
                                  sight unseen to a foreign medical school, rather than follow the time tested advice
                                  of AAIMG to make a personal visit to the campus before attending. The focus
                                  of this section is somewhat different than the more detailed reports on Caribbean,
                                  Mexican and Central American programs. The goal of the Eastern European report
                                  is to provide general observations and guidelines pertaining to the study of
                                  medicine in Eastern Europe and the countries of the former USSR.

                                                                                                                  top

                                  HISTORICAL OVERVIEW

                                  Until the Flexner report, aspiring American physicians with financial resources and
                                  proper social contacts completed all or part of their medical education at
                                  prestigious universities in Germany, Austria, Belgium, France or Italy. As the
                                  quality of American medical education improved during the first half of the 20th
                                  century, Europe eventually became a destination of study for those Americans
                                  unable to gain acceptance in their own country. As Western European medical
                                  schools gradually admitted fewer and fewer North Americans, medical schools in
                                  Southern Europe became the next best alternative.

                                  A majority of the founding members of AAIMG received their medical education in
                                  Spain and Italy. Studying medicine abroad between 1950-1980 meant attaining
                                  fluency in a foreign language and adaptation to a different health care and
                                  educational system. We went with the expectation of a high level of integration into
                                  the local culture. A fifth pathway year was required to compensate for perceived
                                  deficits in clinical training and technology during the third and fourth years.
                                  Enrollment in Italian and Spanish medical schools began to dwindle with the
                                  establishment of English language programs in the Caribbean Basin. In the past 10
                                  years, Eastern European medical schools have entered the market place as a
                                  highly viable alternative for medical studies. Many programs are located at famous,
                                  centuries old universities that have produced world-renowned scientists and Nobel
                                  Prize winners. The establishment of a separate language based tract brings badly
                                  needed hard currency to institutions that rely primarily on state funding. The
                                  presence the English speaking students likewise stimulates faculty to improve their
                                  English language skills and keep abreast of new technological developments.

                                  The original English language programs began with small groups of students in
                                  Poland, the Czech Republic and Hungary. English language medical programs are
                                  attended by students from a variety of countries including the United States,
                                  Canada, the Scandinavian countries, The United Kingdom, Greece, India, and the
                                  Middle East. In the regular medical program foreign students are numerous and
                                  study in the official language of the host country. The largest percentage of
                                  Americans studying in Eastern Europe are currently concentrated in Poland. This is
                                  due to the fact that Poland has many major universities that have been approved
                                  by the Department of Education for FFEL loans. However, not all Universities in
                                  Poland have received D.O.E. approval to this date. English language programs are
                                  found in several established medical schools in The Czech Republic and Hungary.
                                  These countries are actively seeking approval by the U.S. Department of
                                  Education on the basis of having a medical education system that has standards
                                  equivalent to those in the United States.

                                  Despite age, history, and reputation, all Eastern European Universities have

http://www.aaimg.com/list/european.html (2 of 11) [4/21/2005 3:29:08 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 12 of 50                         PageID #: 298
                                  struggled to overcome decades of repression of free thought and expression by
                                  their former Communist Governments. In some cases, prominent researchers and
                                  scholars were imprisoned, executed or fled to other countries, leaving an
                                  intellectual and leadership gap in many university faculties. Nevertheless, these
                                  seats of higher learning have struggled to re-establish an atmosphere of free
                                  thought and scholarly research. An understanding of the political history and
                                  suffering of the residents these countries will help the aspiring medical student
                                  make a better adjustment to local conditions. The next section lists common
                                  themes identified by AAIMG interviewers during site visits by listing advantages
                                  and disadvantages of medical studies in Eastern Europe.


                                                                                                                      top

                                  ADVANTAGES OF EASTERN EUROPEAN PROGRAMS

                                       ●   The medical schools are older, well-established centers of learning that are
                                           part of larger university structures. The university infrastructure provides
                                           library, lab, research, computer facilities, dorms, cafeterias and recreational
                                           facilities.
                                       ●   There is a well-established network of hospitals and clinics serving as
                                           teaching facilities. The patient population base is sufficient to provide
                                           exposure to a broad spectrum of medical problems in both ambulatory and
                                           inpatient settings.
                                       ●   There is a long tradition of scientific inquiry, scholarly research and
                                           publication throughout most university structures. There are active research
                                           projects at all major University centers.
                                       ●   There is a large faculty with a broad base of basic science knowledge and
                                           clinical experience. Most will have a working grasp of the English language
                                           to be able to read scientific publications.
                                       ●   Students studying in Eastern Europe have access to significant cultural
                                           events, museums and recreational opportunities. Local public transportation
                                           is cheap and available in larger cities. Rail connections make excursions to
                                           other countries readily available.
                                       ●   Tuition rates are lower at Eastern European Universities than at the better
                                           proprietary model schools in the Caribbean. The cost of living and services
                                           are reasonable. The U.S. dollar currently has a favorable exchange rate in all
                                           Eastern Europe countries.
                                       ●   Americans have an opportunity to learn a new language, adapt to a new
                                           culture and work in a health care delivery system that developed from
                                           historical and political systems quite different from those found in the United
                                           States.
                                       ●   A six-year program with premedical studies and language instruction is
                                           available in most English language programs to accommodate students who
                                           need to complete these courses. Classes are normally small in size.
                                       ●   A few programs will allow completion third and fourth year rotations in the
                                           USA, Canada and Great Britain.

                                                                                                                      top

                                  DISADVANTAGES OF EASTERN EUROPEAN PROGRAMS



http://www.aaimg.com/list/european.html (3 of 11) [4/21/2005 3:29:08 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 13 of 50                             PageID #: 299
                                       ●   Despite assurances by stateside recruiters, American students must learn to
                                           speak the local language if they are to become competent physicians.
                                       ●   Language instruction is mandatory in all programs. Students with minimal
                                           fluency in the local language will be at a severe disadvantage completing
                                           clerkships.
                                       ●   Although instruction is in English, many of the professors speak with strong
                                           accents or have minimal English language fluency.
                                       ●   American students cannot expect to learn the fundamentals of a proper
                                           history and physical by using the services of an interpreter.
                                       ●   Testing practices are significantly different in European Universities and are
                                           heavily skewed toward demonstration of comprehensive knowledge and a
                                           tradition of oral examinations.
                                       ●   Preparation for the USMLE is left up to the individual student in most cases,
                                           although some programs are attempting to use multiple choice type exams
                                       ●   Technology is often not comparable to that of U.S. hospitals and varies
                                           greatly in the hospitals and clinics.
                                       ●   Library and computer resources for the English language students are often
                                           not comparable to those available to local medical students. In other words,
                                           the English language program facilities, if separate, are not always equal.
                                       ●   Although patient numbers are sufficient for exposure, medical students in the
                                           English language program are in competition with local medical students and
                                           postgraduate trainees for cases. American students complained that they
                                           were often relegated to scut work and missed out on more interesting
                                           learning opportunities.
                                       ●   Human relations problems were reported between local students of those in
                                           the English language program. Students in the English language programs
                                           are usually more affluent and often demanding of special treatment, creating
                                           tension and feelings of resentment.
                                       ●   Low faculty wages and the University's need for hard currency does not
                                           always insure integrity in the admission process or examination
                                           administration. These practices vary significantly and do not characterize all
                                           Eastern European medical schools.
                                       ●   The typical work day of a third year European student is rarely as long or
                                           rigorous as that demanded of medical students in the U.S. The typical
                                           workday is normally 8 hours with call schedules either lacking (often due to
                                           lack of call room facilities) or a fraction of the 1:4 ratio typical of U.S. student
                                           training programs
                                       ●   Poor communication skills contribute to the isolation of foreign students from
                                           the teaching team. Lack of language fluency slows down medical team
                                           rounds, tries the patience of nursing staff and often confuses the patient.
                                       ●   American patients are notoriously intolerant of foreign trained physicians with
                                           poor communication skills. Europeans are culturally politer and more
                                           deferential to medical authority, but their patience is not infinite.
                                       ●   Lack of language fluency leads to demoralization and isolation. AAIMG
                                           evaluators observed that Americans with the poorest levels of adjustment
                                           and most complaints had achieved the least amount of language fluency.
                                       ●   No English language program publishes a comprehensive list of USMLE
                                           Step I, II and CSA passing rates or has a complete list of graduates with
                                           residencies.
                                       ●   Students in the English language program are disadvantaged in terms of
                                           representation in student government and have little recourse for appeal in
                                           cases of academic failure or disciplinary decisions.
                                       ●   Eastern European nations vary in requirements for "eligibility" to practice

http://www.aaimg.com/list/european.html (4 of 11) [4/21/2005 3:29:08 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 14 of 50                        PageID #: 300
                                           medicine in that country. Social service or internship requirements may add 1-
                                           2 additional years of study.

                                                                                                                     top

                                  SUMMARY

                                  The study of Medicine in Eastern European countries has many advantages and
                                  disadvantages for American citizens. Many of the disadvantages have more to do
                                  with the nature and expectations of young American medical students and less to
                                  do with the actual quality of the education. Again, we visited established, highly
                                  respected medical schools with a long history of training physicians and scholarly
                                  activities. It is not the intent of this report to devalue the quality of medical
                                  education in any Eastern European countries, but to provide some realistic
                                  guidelines for prospective American medical Students.

                                  The public education system and post secondary institutions in the United States
                                  do not prepare our young people to speak a foreign language. Therefore, the
                                  American students in the English language programs visited by AAIMG were at a
                                  severe disadvantage when compared to their Scandinavian, Western European
                                  and Canadian counterparts. If we were to subjectively rank the adjustment levels of
                                  various student groups encountered during the AAIMG site visits, they would read
                                  as follows (most to least adjusted)
                                  (1) Students of any nationality with cultural roots in the host country and some
                                  language fluency;
                                  (2) Students from Western European countries;
                                  (3) Students from Scandinavian countries;
                                  (4) Students from the U.K and Canada;
                                  (5) Other nationalities (Greek, Middle Eastern, Asian);
                                  (6) American citizens.

                                  Our site visitors found many examples of satisfied Americans who had attained
                                  some language fluency and were progressing well with their medical studies.
                                  However, our evaluators encountered far to many vocal, complaining young
                                  Americans who regretted their choice of an Eastern European medical school and
                                  were looking for opportunities to transfer. This phenomenon occurred in every
                                  country. It was unclear, however, if many of these dissatisfied students would be
                                  satisfied or successful in the event they transferred to another program. Medicine
                                  is not for the faint hearted and is a grueling course of study in any country.

                                  English language programs are growing rapidly in Eastern Europe, some without
                                  any particular attention to quality control. Many appear to be headed in the
                                  direction of a proprietary model where a few school officials receive beneficial
                                  interest from tuition paid by foreign students. While North American students are
                                  the dominant population in the Caribbean schools, the Eastern European schools
                                  attract students of many nationalities. Although the list of new programs grows
                                  annually, AAIMG chose to visit only established programs that have higher
                                  concentrations of American students.

                                  While there were strengths and weaknesses at all of the English language
                                  programs, all programs met or exceeded AAIMG criteria. Again, these are
                                  programs that are part of established universities with qualified staff, research
                                  facilities, and a well-developed infrastructure. On the other hand, these universities

http://www.aaimg.com/list/european.html (5 of 11) [4/21/2005 3:29:08 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 15 of 50                       PageID #: 301
                                  would do well to internally re-evaluate the need for a separate foreign language
                                  medical program from a strictly pedagogic point of view. A separate program
                                  creates different standards for different groups and a degree of tension and
                                  divisiveness between the local and foreign students. Unfortunately, fiscal
                                  considerations may outweigh purely educational decisions in some Eastern
                                  European medical programs.

                                                                                                                     top

                                  EASTERN EUROPEAN PROGRAMS MEETING AAIMG CRITERIA

                                  In every case, the Eastern European medical schools visited by AAIMG evaluators
                                  more than exceeded the 75% of the evaluation criteria listed on this web page.
                                  Compared to medical schools catering to North Americans in Mexico, The
                                  Caribbean Basin and Central America, Eastern European medical schools are
                                  superior in nearly every respect. The English language medical programs,
                                  however, varied in overall organization, educational quality and student
                                  satisfaction. Therefore, our evaluators have prepared some anecdotal comments
                                  about the English language programs for each medical school.


                                  POLAND

                                  Jagiellonian University Medical College, Krakow
                                  Krakow is an elegant, historic city with a centuries old medical school and large
                                  University structure. The University has a tradition of scholarly activity and names
                                  Copernicus as a distinguished alumnus. There is a four-year and a six-year English
                                  language program with roughly 30-35 students admitted annually to each section.
                                  The English language program is dominated by Scandinavian students, particularly
                                  Norwegians, who tend to study in the six-year program. The curriculum in the basic
                                  and clinical sciences is compatible with the US medical school curriculum.
                                  Following the European model, actual clinical experience begins in the second
                                  year. There is little room for electives in the fourth year and no provision to return
                                  to the US, UK or Canada for electives. Tuition is somewhat higher than other
                                  schools but this program has a great deal to offer. Polish language instruction is
                                  longer and more intense than instruction in other programs. Admission is very
                                  competitive and standards are high. There are six state hospitals and numerous
                                  clinics with sufficient numbers of patients to keep students and residents busy.



                                  THE FOLLOWING POLISH SCHOOLS MAINTAIN RECRUITING OFFICES
                                  IN THE UNITED STATES:

                                  University of Medical Sciences in Pozan, Poznan
                                  This English language program, which opened in 1993, has one of the higher
                                  concentrations of North American students and markets aggressively. The medical
                                  school is unique in its affiliation with Farleigh Dickinson University and Mercy
                                  College for a 7 year B.S./M.S. program. There is a six-year option for students
                                  needing premedical studies and a more attractive four-year curriculum. The four
                                  year curriculum has a "medical Polish" language course in the first and second
                                  years but the contact hours are insufficient to promote substantial language
                                  proficiency. Lack of fluency in Polish and frustration with all aspects of the

http://www.aaimg.com/list/european.html (6 of 11) [4/21/2005 3:29:08 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 16 of 50                       PageID #: 302
                                  program, especially hospital rotations, was apparent among American students.
                                  Unfortunately, recruiters minimize the importance of language acquisition by
                                  assuring prospective applicants they can rely on interpreters during their hospital
                                  rotations. The basic sciences are a standard curriculum similar to medical schools
                                  in the USA except that clinical medicine experience in internal medicine begins in
                                  the second year. The fourth academic period gives little choice in terms of electives
                                  but foreign students may complete up to 16 weeks of electives in their own
                                  countries. There are five state hospitals and numerous specialty clinics in Poznan.
                                  A historic campus is scattered throughout the central city with dorm facilities
                                  available for students in the English language medical program. There is a U.S.
                                  recruitment office in New York.

                                  Medical School of Lublin, Lublin
                                  Lublin is a University town with one of the country's newer medical schools,
                                  established in 1944. There is a private organization that markets the program in the
                                  United States. The medical school is part of a larger University complex containing
                                  a broad range of facilities. The English language curriculum is four or six years with
                                  more intensive Polish language instruction than found in other programs. However,
                                  the U.S. placement institute assured our prospective applicant that interpreters
                                  could be used in the third and fourth year rotations. There is a small population of
                                  American and Asian students in this program, many of whom paid a substantial fee
                                  of $7,900 to a placement agency in the United States to be guaranteed a seat.
                                  Other nationalities in the program applied directly to the school. There are
                                  approximately 300 medical students admitted to the regular and English language
                                  programs. There was a total of about 170 Americans enrolled in the four and six
                                  year programs. Although there are 5 hospitals and a number of smaller clinics,
                                  patient contact is low due to the large number of trainees. There are opportunities
                                  for rotations at a limited number of hospitals in the USA for students placed
                                  through the private organization. To qualify for rotations in the United States, the
                                  student must first pass the USMLE Step I, then pay up to $200.00 per week for
                                  hospital fees at U.S. affiliates. It is recommended, however, that the third year be
                                  completed in Poland.

                                  Silesian University School of Medicine, Katowice
                                  Katowice is a large industrial city still suffering the consequences of years of
                                  unchecked severe pollution that still plagues Eastern Europe. The city is a major
                                  university center with one of the largest medical school student populations in
                                  Poland. There are two huge campuses and many modern facilities. There is a four-
                                  year and six-year English language program with much the same student body
                                  profile as found in Lublin. There were about 180-190 American citizens present
                                  during our site visit. The same placement institute sends students to Silesian as to
                                  Lublin. There is intense language instruction but recruiters still gave the impression
                                  that the third and fourth year clerkships could be mastered with the use of
                                  interpreters. Although there are ten hospitals serving a larger geographical area
                                  and many specialty clinics, the medical school admits so many students each year
                                  that there is competition for good teaching cases. American citizens sent to
                                  Katowice by the placement institute are eligible for clerkship rotations in U.S.
                                  hospitals if they first pass Step I and agree to pay weekly Hospital fees of up to
                                  $200.00 per week. It is recommended that third year rotations be completed in
                                  Katowice.




http://www.aaimg.com/list/european.html (7 of 11) [4/21/2005 3:29:08 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 17 of 50                      PageID #: 303
                                  CZECH REPUBLIC

                                  First Faculty of Medicine, Charles University, Prague/Hradec Kralove
                                  Prague is truly the queen city of Eastern Europe and full of marvelous cultural
                                  opportunities. Charles University in one of the oldest Eastern European
                                  Universities founded in 1348. An application to the English language program may
                                  result in admission to the more competitive seats at the Medical Faculty of Prague
                                  or result in acceptance at another campus. There is second Charles University
                                  Medical Faculty about 60 miles away in the pretty town of Hradec Kralove.
                                  Although it is a much newer facility (established 1945), the English language
                                  program curriculum is the same as at the main campus. As in other medical
                                  schools, there is a broad mix of students in the English language program. Czech
                                  programs are six years in duration and the English language program is nearly
                                  identical to the curriculum followed by Czech medical students. An entrance
                                  examination is required for all foreign students to determine proficiency in
                                  undergraduate sciences. Language instruction is intensive in the basic science
                                  curriculum and it is clearly stated that proficiency in Czech is required for
                                  communicating with patients. Americans are a smaller percentage of students in
                                  both English language programs. There are about 200 total students in the English
                                  language curriculum, primarily composed of Scandinavians, Western Europeans,
                                  Greek citizens and students from Middle Eastern countries. Both campuses have
                                  highly computerized library and research facilities and are part of the
                                  Socrates/Erasmus Programme which links major European universities. Prague
                                  has a much larger patient base but the hospitals are scattered throughout the city
                                  and supported by smaller, decentralized specialty clinics. The centralized 1600 bed
                                  University Hospital in Hradec Kralove, however, was more than sufficient for
                                  teaching purposes.

                                  Palacky University Faculty of Medicine, Olomouc
                                  Olomouc is the fifth largest city in the Czech republic located in a primarily
                                  agricultural section of the country. The city has a lovely historical section which
                                  incorporates part of the University. Facilities range from massive 19th century
                                  lecture theaters to modern computerized labs. Czech language courses are taught
                                  seriously and intensively. The library is highly computerized and allows students to
                                  have access to Ovid Medline. The English language program began in 1993 and
                                  has remained a small program with few North Americans. Testing follows the
                                  European oral tradition but there is some attempt on the part of the faculty to
                                  provide multiple choice testing options. Palacky is unique in that the medical school
                                  has its own 1700 bed hospital serving the 100,000 inhabitants of Olomouc and
                                  surrounding rural communities.



                                  HUNGARY

                                  Albert Szent Gyorgyi Medical University, Szeged
                                  This University has one of the oldest English Language programs in Eastern
                                  Europe (16 years) and recently opened a German language program. Hungarian
                                  medical schools are regulated by strict state codes that all students must follow.
                                  The standard curriculum is six years. Hungarian language is taught intensively and
                                  fluency is expected by the time the student enters clerkships in the last two years.
                                  There is a social service internship year that follows graduation from medical
                                  school. Graduates of Hungarian medical schools must write a thesis and pass a

http://www.aaimg.com/list/european.html (8 of 11) [4/21/2005 3:29:08 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 18 of 50                      PageID #: 304
                                  state board exam. The basic curriculum is well organized with standard American
                                  and English medical texts. The patient base, clinical and hospital facilities are
                                  adequate for the size of the student body.

                                  University Medical School of Debrecen, Debrecen
                                  Debrecen has one of the oldest Universities in Hungary. It is the second largest city
                                  in Hungary but located in a geographically stunning area characterized by a
                                  national park and old spas with thermal baths. The English language program
                                  opened 12 years ago but adheres more to traditional European educational
                                  standards. There is a required entrance exam for all students and the curriculum
                                  for students in the English language program is almost identical to that of the six
                                  year regular program. Foreign students may receive advanced standing of one
                                  year with sufficient premedical preparation. Hungarian is a difficult language to
                                  master and taught to all students. It is clear that language proficiency is expected
                                  by the time the student reaches clerkships. There is a social service internship year
                                  that follows the graduation from medical studies. Graduates of Hungarian medical
                                  program must write a thesis and pass a state board exam.



                                  PROVISIONAL STATUS

                                  Semmelweis University, Budapest
                                  Semmelweis has the advantage of being located in Budapest, one of the larger
                                  historic capitals of Eastern Europe with easy access to Austria and Germany. It is a
                                  large University and medical school located in the historic area of the city. The
                                  English language program, which is about seven years old, was found by the
                                  evaluators to be quite small and disorganized in terms of a curriculum and
                                  schedule. No one could tell us exactly how many Americans were enrolled or
                                  where to find them. We did meet Scandinavian and German students who stated
                                  there were few Americans in the program. It is a fully functional medical school but
                                  the English language program is lacking in organization and facilities. The hospitals
                                  and patient base are more than sufficient to provide challenging clinical
                                  experiences.



                                  PROGRAMS NOT EVLAUATED:

                                  Medical University of Gdansk:
                                  The English language program is attended primarily by Western European
                                  students. There are approximately 10 Americans according to the U.S. recruitment
                                  office. Gdansk does not yet qualify for FFEL loans but has applied. A private
                                  recruitment organization in the U.S. charges a $5,000 placement fee.


                                  Carol Davila, Bucharest, Romania
                                  Despite email requests, AAIMG did not received sufficient information about the
                                  English language program to merit a visit at this time.


                                  Medical Academy of Latvia, Riga Stradins University, Riga Latvia:
                                  New Program, little information available at this time.


http://www.aaimg.com/list/european.html (9 of 11) [4/21/2005 3:29:08 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 19 of 50                           PageID #: 305


                                                                                                                         top

                                  CONCLUSION

                                  Eastern European medical programs provide a viable alternative for young
                                  Americans unable to gain acceptance into U.S. medical schools. A majority of the
                                  programs are cost effective and train competent physicians. The problems
                                  encountered by Americans studying in Eastern Europe have little to do with the
                                  quality of medical school or differences in curriculum. Personal traits involving
                                  motivation, adaptability and willingness to learn a foreign language is the key to
                                  successful completion of a medical education in any foreign country.

                                                                                                                         top

                                  AAIMG'S WORDS OF WISDOM TO PROSPECTIVE
                                  EASTERN EUROPEAN APPLICANTS

                                       ●   Be skeptical of information you receive from stateside recruiters, especially
                                           programs marketed by private placement organizations that charge high
                                           fees. Be wary of any program that minimizes the importance of learning the
                                           native language.
                                       ●   All serious applicants should travel to Eastern Europe to visit medical
                                           schools in the final selection pool. A personal visit allows the applicant to
                                           speak with faculty, other students in the program and evaluate the facilities. It
                                           is money well spent and will avoid later problems.
                                       ●   Apply directly to the medical school and avoid paying high fees to placement
                                           agencies. Eastern European medical schools using placement agencies
                                           have ample "seats" for qualified students. Applicants would be better off
                                           using the funds to take a vacation to Europe to evaluate the programs and
                                           apply directly.
                                       ●   Expect to attain fluency in the native language for maximum adjustment and
                                           to maximize learning in clerkships. Communication is the key to the
                                           physician-patient relationship. It is difficulty to treat patients properly if you
                                           totally rely on an interpreter.
                                       ●   Make sure that the curriculum and facilities available to students in the
                                           English language program are comparable to those allocated for local
                                           students.
                                       ●   Avoid living in dorms or housing with segregated housing for English
                                           language program students. Living with a local family or having a roommate
                                           who speaks the native language will accelerate your language skills
                                           significantly.
                                       ●   Absolutely avoid programs that promise advanced standing, especially for
                                           chiropractors, podiatrists or other allied health care professionals. AAIMG
                                           has received complaints from chiropractors who enrolled in a program in the
                                           former Soviet Union and lost a great deal of money. This program is no
                                           longer in existence.
                                       ●   Take advantage of the proximity of Eastern Europe to other countries and
                                           use vacation time to explore and enrich your cultural knowledge base. A
                                           friendly, considerate manner will overcome many obstacles along the way.



http://www.aaimg.com/list/european.html (10 of 11) [4/21/2005 3:29:08 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 20 of 50   PageID #: 306




http://www.aaimg.com/list/european.html (11 of 11) [4/21/2005 3:29:08 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 21 of 50                       PageID #: 307




                                  Medical Schools in the Caribbean Basin

                                  We are pleased to release a preliminary report
                                  of our first set of evaluations of medical schools
                                  located in the Caribbean Basin. Our evaluation
                                  teams visited a total of 14 medical schools on
                                  various islands. In this region, six medical
                                  schools were identified as meeting or exceeding
                                  75 % of stated criteria in all evaluation
                                  categories. In presenting the names on the list
                                  below, AAIMG does not endorse any single
                                  school or program. The following list identifies
                                  medical school programs in a variety of locations that have met the minimum
                                  evaluation criteria of this organization.

                                       ●   Medical schools meeting or exceeding AAIMG evaluation criteria in the
                                           Caribbean basin

                                  Medical Schools in Mexico and Central America

                                  We are pleased to release a report of evaluations of medical schools with English
                                  language programs or programs that accepts students from the United States. The
                                  Federal Government of Mexico has done an exemplary job in regulating medical
                                  school education in that country. Governments in Central America vary in their
                                  regulation of post secondary and professional education.

                                       ●   Medical schools meeting or exceeding AAIMG evaluation criteria in Mexico
                                           and Central America

                                  Provisional

                                  This category covers new medical schools that meet the 75% AAIMG evaluation
                                  criteria relative to the school's level of development. AAIMG will monitor the this
                                  school's application for review by the California Medical Board as well as the
                                  ramifications of a U.S. campus opened in the state of Maine.

                                       ●   St. Matthew's University School of Medicine
                                           Belize, Central America




http://www.aaimg.com/list/index.html (1 of 2) [4/21/2005 3:29:09 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 22 of 50                         PageID #: 308




                                     1.    It is significantly more difficult to be
                                           accepted into medical school today than
                                           10 years ago. MCAT scores and grade
                                           point requirements are higher. Thousands
                                           of talented, well- qualified, individuals
                                           therefore are denied admission each
                                           year.

                                     2.    Failure to gain admission to a U.S.
                                           medical school should not be interpreted as a sign of failure. If you have the
                                           motivation, there are acceptable programs abroad.

                                     3.    You do not have to be gifted in a foreign language to study abroad. Many
                                           international schools have English language programs or are located in
                                           English speaking countries.

                                     4.    Over 25% of all practicing physicians in the United States are International
                                           Medical Graduates. U.S. citizens who train abroad are now a significant part
                                           of the IMG physician population.

                                     5.    There are roughly 15,000 U.S. graduates a year and approximately 21,500
                                           postgraduate residency positions available. The number of residency
                                           programs has increased every year for the past 30 years. International
                                           Medical Graduates are needed to fill these surplus residencies.

                                     6.    The highest concentrations of IMG's are in the specialties of Internal
                                           Medicine, Psychiatry, Anesthesiology and Primary Care.

                                     7.    Over the past decade IMG's with high USMLE scores from reputable foreign
                                           programs have been able to obtain residencies in more competitive areas
                                           such as Surgery, Radiology and Obstetrics and Gynecology.

                                     8.    All medical students now take one exam called the United States Medical
                                           Licensure Exam series (USMLE). There are two additional exams for IMG's:
                                           The Clinical Skills Assessment exam (CSA) and a language proficiency
                                           exam, the TOEFL.

                                     9.    The passing rate for American and Canadian International Medical
                                           Graduates on the Clinical Skills Assessment Exam exceeds that of other
                                           foreign trained physicians.

                                  10.      Today, there is far more scrutiny of U.S. citizens studying medicine abroad

http://www.aaimg.com/factoids/index.html (1 of 3) [4/21/2005 3:29:11 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 23 of 50                         PageID #: 309
                                           by state licensing boards than existed 10 years ago. It is therefore important
                                           to study at an established, stable school that will keep permanent records.

                                  11.      Residency Training Programs, however, appear to be more receptive to U.S.
                                           citizen IMG's than they were 10 years ago. A United States Citizen does not
                                           need a special visa. Furthermore, because most American IMG's have done
                                           clerkship rotations in U.S. hospitals, they often integrate quickly and with
                                           fewer difficulties into training programs.

                                  12.      After passing the USMLE Step I & II, the CSA and TOEFL exams, IMG's are
                                           eligible to participate in the National Residency Matching Program. Unlike
                                           U.S. medical students, IMG's are free agents and may sign residency
                                           training contracts with programs outside of the MATCH.

                                  13.      There is no doctor glut in the United States. There is a significant mal-
                                           distribution of physicians with high concentrations in urban areas and a
                                           severe shortage of qualified physicians in rural locations.

                                  14.      Despite recent publicity, a majority of U.S. residency training programs are
                                           not decreasing training positions. An increase in Primary Care postgraduate
                                           programs balances cut backs in specialty areas. Physicians are retiring or
                                           decreasing practice at an earlier age than anticipated. This accounts for the
                                           current shortage of Anesthesiologists, for example.

                                  15.      For several years, there has been discussion in Congress of limiting
                                           Medicare funding to residency training programs accepting IMG's. Although it
                                           is a remote possibility, such action should not affect foreign trained U.S.
                                           citizens who are permanent residents and tax payers.

                                  16.      In 1999, the AMA declared that there are now sufficient Primary Care
                                           physicians. Future residents, including IMG's, can feel free to apply for more
                                           competitive specialties.

                                  17.      Patients are more concerned with the quality of care physician's provide that
                                           where you attended medical school. A combination of knowledge, skill and
                                           genuine concern are what count.

                                  18.      Today there are excellent options for study abroad in a variety of countries.
                                           World Health Organization (WHO) listing alone does not, however,
                                           guarantee a quality education. A medical school, particularly if it was
                                           established within the last 10 years, should be thoroughly investigated before
                                           a student attends. Read the Words of Wisdom Section of the web page.


                                                                                                                       Top




http://www.aaimg.com/factoids/index.html (2 of 3) [4/21/2005 3:29:11 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 24 of 50                          PageID #: 310




                                                      AAIMG'S WORDS OF WISDOM TO PROSPECTIVE
                                                     INTERNATIONAL MEDICAL SCHOOL APPLICANTS

                                  The Following Words of Wisdom
                                  Are the Best Advice You Will Ever Receive.
                                  Read Each Item Carefully Before You Study Abroad

                                     1.    The first word of wisdom is that you can
                                           receive an excellent education abroad
                                           and a competitive residency in the
                                           United States. You must first do your
                                           homework and study only at a
                                           reputable school with rigorous
                                           academic standards.


                                     2.    More medical schools in the Caribbean, Mexico and Central America have
                                           failed than have succeeded. Study only at established schools and be highly
                                           skeptical of newly established schools. If this information is not included in
                                           the catalog, ask each school for the following:
                                           a. The USMLE Step I and Step II passing rates
                                           b. A complete list of all training hospitals and their locations
                                           c. A list of graduates and their residency placements
                                           d. The names and credentials of all full-time faculty members.
                                           e. Proof of listing with the World Health Organization

                                     3.    Follow the same procedure for established European Medical Schools with
                                           English language programs. Make sure you have the same access to faculty,
                                           library and lab facilities as local students in the regular program. Be prepared
                                           to attain language fluency before you begin third and fourth year clerkships.

                                     4.    Do not believe what you read in a flashy catalog or on an internet site. Avoid
                                           any school where recruiters engage in pressure tactics or make personal
                                           concessions for you. Visit the admission office and basic science campus of
                                           each school in your final selection pool. Attend lectures and interview several
                                           current students.

                                     5.    During a personal visit, look for signs of adequate staffing and permanency.
                                           Evaluate the faculty credentials and make sure the teaching staff is full-time
                                           and in residence. Avoid schools that hire local MD practitioners on a part-
                                           time basis to teach basic science courses normally taught by Ph.D. level
                                           faculty (physiology, biochemistry, microbiology etc.)

                                     6.    Carefully evaluate the integrity of the library, laboratories and classroom
                                           facilities. Many of the newer medical schools rent space in local hotels,


http://www.aaimg.com/words/index.html (1 of 3) [4/21/2005 3:29:12 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 25 of 50                                PageID #: 311
                                           converted garages, or private homes. Look for a permanent, fully functioning
                                           campus and remember that a school that rents a few classrooms has little
                                           incentive to remain open during hard times.

                                     7.    Be very wary of any school that will allow you to complete part of your basic
                                           science studies in the United States or England. To avoid future licensing
                                           problems, your entire basic science curriculum should be completed in the
                                           country listed by the World Health Organization.

                                     8.    Be equally wary of schools that have substandard basic science campuses
                                           and guarantee clerkship rotations in the United States. Many of the newly
                                           established schools with poor to non-existent basic science campuses use
                                           this tactic to attract new students. This is a tried and true con game that
                                           could be very costly in terms of money and wasted time.

                                     9.    Go only to schools where the duration of the Doctor of Medicine program is
                                           at least 38 months and demand that you have full-time attendance at the
                                           campus. Beware of programs that require that you be present only 6-8
                                           weeks or place you on directed study back in the United States.

                                  10.      If you are unable to make a personal visit, interview several current students
                                           and graduates before you make a choice. Do not go to schools that refuse to
                                           give you a list of clinical training hospital sites or do not list the clinical sites in
                                           the catalog.

                                  11.      Look for medical schools with external loan programs. A school with Stafford,
                                           FFEL, TERI, or I HELP loans has a source of oversight and regulation if it is
                                           receiving funding from one of these groups.


                                                            Click here for more Words of Wisdom




http://www.aaimg.com/words/index.html (2 of 3) [4/21/2005 3:29:12 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 26 of 50                        PageID #: 312




                                  AAIMG is pleased to release the results of site visits that
                                  were conducted during 2003. The first site visits to foreign
                                  medical schools were made in 1999 and focused on the so
                                  called “off shore” programs. The report was revised again
                                  in 2001 and included new material about rapidly growing
                                  Eastern European programs. The proliferation of medical
                                  school programs catering to North Americans requires
                                  continued vigilance on the part of any applicant.

                                  International Medical Graduates continue to make
                                  important contributions to the U.S. health care system.
                                  Residency training programs remain in surplus and the
                                  outlook is favorable for well trained IMG’s who pass the
                                  difficult USMLE examinations and possess a solid clinical
                                  skill base. Post 9/11 visa requirements are more stringent,
                                  as are rules about registration and travel across
                                  international borders. Therefore, the U.S. citizen who has
                                  studied abroad is attractive as a potential resident to
                                  training directors.

                                  Nevertheless, there are still hurdles, particularly in the area
                                  of medical licensure. The trend in many states is to
                                  demand more detailed documentation from international
                                  medical graduates. In 1986, a significant number of
                                  programs in the Dominican Republic and Mexico were
                                  investigated and eventually closed due to poor standards
                                  and unsavory practices such as selling medical degrees.
                                  Unfortunately, a parallel process started in the late 1990’s
                                  with the rapid growth of so many new medical schools in
                                  the Caribbean, Central America and in the Pacific.

                                  Each week AAIMG receives hundreds of emails and
                                  letters. We remain committed now, as in the past, to
                                  answering all serious inquiries in a timely manner.

                                  Thomas Moore, MD
                                  President, AAIMG




http://www.aaimg.com/updates/index.html (1 of 2) [4/21/2005 3:29:13 PM]
American Association of International Medical Graduates
            Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 27 of 50               PageID #: 313




                                                          AMERICAN ASSOCIATION OF INTERNATIONAL
                                                                   MEDICAL GRADUATES

                                  1802 North Carson Street
                                  Suite 212-2161
                                  Carson City, Nevada 89701 USA

                                  PRESIDENT:
                                  Thomas Moore M.D.
                                  e-mail: presaaimg@hotmail.com

                                  M.D. EXECUTIVE SECRETARY:
                                  Sarah B. Weinstein
                                  e-mail: execsecaaimg@hotmail.com



                                  Link to:

                                        ●   http://www.ecfmg.org
                                        ●   http://www.medicalstudent.com
                                        ●   http://www.amsa.org
                                        ●   http://www.ifmsa.org
                                        ●   http://www.snma.org
                                        ●   http://www.valuemd.com




http://www.aaimg.com/contact/index.html [4/21/2005 3:29:14 PM]
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 28 of 50   PageID #: 314




                                   EXHIBIT E
                     Websites containing links to AAIMG.COM
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 29 of 50   PageID #: 315
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 30 of 50   PageID #: 316
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 31 of 50   PageID #: 317
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 32 of 50   PageID #: 318
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 33 of 50   PageID #: 319
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 34 of 50   PageID #: 320




                                    EXHIBIT F
                Demand Letter to Defendant AAIMG from ST. MATTHEW’s,
                                  dated March 17, 2004
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 35 of 50   PageID #: 321
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 36 of 50   PageID #: 322
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 37 of 50   PageID #: 323




                                  EXHIBIT G
                    Corporate Documents for Defendant AAIMG
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 38 of 50   PageID #: 324
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 39 of 50   PageID #: 325
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 40 of 50   PageID #: 326
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 41 of 50   PageID #: 327
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 42 of 50   PageID #: 328
CorporationCase
           Details2:06-cv-00052-DBH
                  - Secretary of State, Nevada Document   9-2 Filed  04/04/06 Page 43 of 50 PageID #: 329
                                                                  https://esos.state.nv.us/SOSServices/AnonymousAccess/CorpSear...




                    ASSOCIATION OF AMERICAN INTERNATIONAL
                             MEDICAL GRADUATES
         Corporation Information
                         Status: Active                                         File Date:   9/7/1999
                           Type: NRS78 - Domestic Corporation              Corp Number:      C21961-1999
                Qualifying State: NV                                List of Officers Due:    9/30/2005
                   Managed By:                                           Expiration Date:
                 Foreign Name:                                           On Admin Hold:      False


         Resident Agent Information
                         Name: VAL-U-CORP SERVICES, INC.                     Address 1: 1802 N CARSON ST.
                     Address 2: #212                                                City: CARSON CITY
                          State: NV                                                  Zip: 89701
                         Phone:                                                     Fax:
                          Email:                                     Mailing Address 1:
             Mailing Address 2:                                             Mailing City:
                  Mailing State:                                            Mailing Zip:


         Financial Information
            No Par Share Count: 25,000.00                               Capital Amount: $ 0
         No stock records found for this company


         Officers                                                                                    b Include Inactive Officers
                                                                                                     c
                                                                                                     d
                                                                                                     e
                                                                                                     f
                                                                                                     g
         President - THOMAS MOORE, MD
               Address 1: 1802 N CARSON ST STE 212                     Address 2:
                      City: CARSON CITY                                    State: NV
                       Zip: 89701                                        Country:
                   Status: Active                                          Email:
         President - THOMAS MOORE, MD
               Address 1: 1802 N CARSON ST STE 212                     Address 2:
                      City: CARSON CITY                                    State: NV
                       Zip: 89701                                        Country:
                   Status: Historical                                      Email:
         Treasurer - RACHAEL SILVER
              Address 1: 1802 N CARSON ST STE 212                      Address 2:
                      City: CARSON CITY                                    State: NV
                      Zip: 89701                                         Country:
                   Status: Historical                                      Email:
         Treasurer - RACHAEL SILVER
              Address 1: 1802 N CARSON ST STE 212                      Address 2:
                      City: CARSON CITY                                    State: NV
                      Zip: 89701                                         Country:
                   Status: Active                                          Email:




1 of 2                                                                                                                     4/8/2005 7:01 PM
CorporationCase
           Details2:06-cv-00052-DBH
                  - Secretary of State, Nevada Document      9-2 Filed  04/04/06 Page 44 of 50 PageID #: 330
                                                                     https://esos.state.nv.us/SOSServices/AnonymousAccess/CorpSear...



         Secretary - SARAH WEINSTEIN
               Address 1: 1802 N CARSON ST STE 212                        Address 2:
                      City: CARSON CITY                                       State: NV
                       Zip: 89701                                           Country:
                   Status: Active                                             Email:
         Secretary - SARAH WEINSTEIN
               Address 1: 1802 N CARSON ST STE 212                        Address 2:
                      City: CARSON CITY                                       State: NV
                       Zip: 89701                                           Country:
                   Status: Historical                                         Email:


         Actions\Amendments
                    Action Type: Articles of Incorporation
             Document Number: C21961-1999-001                                  # of Pages: 2
                        File Date: 09/07/1999                               Effective Date:
         (No Notes for this action)
                  Action Type: Amendment
            Document Number: C21961-1999-003                                   # of Pages: 1
                     File Date: 10/03/2000                                  Effective Date:
         REINSTATED-REVOKED 8/1/00 GXH
                     Action Type: Annual List
             Document Number: C21961-1999-002                                  # of Pages: 1
                        File Date: 09/21/2004                               Effective Date:
         List of Officers for 2004 to 2005




2 of 2                                                                                                                4/8/2005 7:01 PM
CorporationCase
           Actions2:06-cv-00052-DBH
                   - Secretary of State, NevadaDocument                        9-2 Filed  04/04/06 Page 45 of 50 PageID #: 331
                                                                                       https://esos.state.nv.us/SOSServices/AnonymousAccess/CorpSear...




         Online Services       | Fee Schedule           | Login



                           Corporation Actions for "ASSOCIATION OF AMERICAN
                                 INTERNATIONAL MEDICAL GRADUATES"
                                        Sort by File Date                     6     i descending n
                                                                                    j
                                                                                    k
                                                                                    l
                                                                                    m
                                                                                    n            j ascending order
                                                                                                 k
                                                                                                 l
                                                                                                 m                            Re-Sort


                                                                               1 - 3 of 3 actions
                  Actions\Amendments

                                   Action Type: Annual List

                           Document Number: C21961-1999-002                                                   # of Pages: 1

                                      File Date: 09/21/2004                                              Effective Date:

                  List of Officers for 2004 to 2005

                                   Action Type: Amendment

                           Document Number: C21961-1999-003                                                   # of Pages: 1

                                      File Date: 10/03/2000                                              Effective Date:

                  REINSTATED-REVOKED 8/1/00 GXH

                                   Action Type: Articles of Incorporation

                           Document Number: C21961-1999-001                                                   # of Pages: 2

                                      File Date: 09/07/1999                                              Effective Date:

                  (No Notes for this action)



                  Return to Corporation Details for "ASSOCIATION OF AMERICAN INTERNATIONAL MEDICAL
                                                        GRADUATES"


                                                                                    New Search




                                                                            You are currently not logged in

                                                                               Copyright © 1996-2005




1 of 1                                                                                                                                  4/8/2005 7:17 PM
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 46 of 50     PageID #: 332




                                     EXHIBIT H
               Registration Information for the Domain “AAIMG.COM”
                                  as of July 7, 2005
Search the WHOIS database.                                                                   https://www.godaddy.com/gdshop/whois.asp?se=%2B&domain=aaim...
              Case 2:06-cv-00052-DBH Document
                                     BobParsons.com9-2 Filed 04/04/06 Page 47 of 50          PageID #: 333
                                                                         Is this really GoDaddy.com?
                                                      Success Key: Focus on what
                                                       you want to have happen!                                       Verify the site for your protection!
                                                       Waiving goodbye to a sure
                                                               $30,000.
                                                        Making $60,000 instead!




              My Account / Logout    Company Info    Why our prices are so low    10-Point Value Plan   What's New!     FAQ Link To Us              NEW! RSS Feeds


             WHOIS Search Results for: AAIMG.COM                                                                                Buy these available domains:

                                                                                                                             c AAIMG.BIZ
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g
              The data contained in Go Daddy Software, Inc.'s WHOIS database,
              while believed by the company to be reliable, is provided "as is"                                              c AAIMG.INFO
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g
              with no guarantee or warranties regarding its accuracy. This
              information is provided for the sole purpose of assisting you                                                  c AAIMG.NET
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g
              in obtaining information about domain name registration records.
              Any use of this data for any other purpose is expressly forbidden without the prior written                    c AAIMG.WS
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g
              permission of Go Daddy Software, Inc. By submitting an inquiry,
                                                                                                                             c AAIMG.NAME
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g
              you agree to these terms of usage and limitations of warranty. In particular,
              you agree not to use this data to allow, enable, or otherwise make possible,                                   c AAIMG.TV
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g
              dissemination or collection of this data, in part or in its entirety, for any
              purpose, such as the transmission of unsolicited advertising and                                               c AAIMG.CO.UK
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g
              solicitations of any kind, including spam. You further agree
              not to use this data to enable high volume, automated or robotic electronic                                    c AAIMG.ME.UK
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g
              processes designed to collect or compile this data for any purpose,
                                                                                                                             c AAIMG.ORG.UK
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g
              including mining this data for your own personal or commercial purposes.
                                                                                                                                You might also consider:
              Please note: the registrant of the domain name is specified
              in the "registrant" field. In most cases, Go Daddy Software, Inc.                                              c AAIMGONLINE.COM
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g
              is not the registrant of domain names listed in this database.
                                                                                                                             c AAIMGHOME.COM
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g

              Registrant:                                                                                                    c AAIMGSITE.COM
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g
              AAIMG                                                                                                          c AAIMGNET.COM
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g
              1802 N. Carson Street                                                                                          c AAIMGWEB.COM
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g
              Carson City, Nevada 89701
              United States                                                                                                  c NEWAAIMG.COM
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g

              Registered through: GoDaddy.com (http://www.godaddy.com)                                                       c MYAAIMG.COM
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g
              Domain Name: AAIMG.COM
                                                                                                                             c THEAAIMG.COM
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g
              Created on: 02-Nov-99
              Expires on: 02-Nov-06                                                                                          c OFFICIALAAIMG.COM
                                                                                                                             d
                                                                                                                             e
                                                                                                                             f
                                                                                                                             g
              Last Updated on: 19-Nov-03

              Administrative Contact:
              Demkin, Andrew demkin@hotmail.com
              60, Moika emb. apt.33
                                                                                                                               Search Again
              Saint-Petersburg, 90000
              RUS                                                                                                            Enter a domain name:
              +7 812 3147397 Fax -- +7 812 3147397                                                                                                       .com    6
              Technical Contact:
              Demkin, Andrew demkin@hotmail.com                                                                              FREE Domain Extras!
              60, Moika emb. apt.33
              Saint-Petersburg, 90000                                                                                        More About Domains
              RUS
              +7 812 3147397 Fax -- +7 812 3147397                                                                                Compare our prices
                                                                                                                                  Why our prices are so low
              Domain servers in listed order:                                                                                     Transfer your domain to
              NS5.SPB.RU                                                                                                          GoDaddy.com for just $7.95!
              NS0.XNAME.ORG                                                                                                       Includes a 1-year extension.

                                                                                                                             NEW! Sell your domain name. Bid on
              Registry Status: REGISTRAR-LOCK                                                                                a name that already exists. The
                                                                                                                             Domain Name Aftermarket is the
                                                                                                                             Internet's new auction house for the HOT
                                                                                                                             domains, all backed by proven
              See Underlying Registry Data
                                                                                                                             GoDaddy.com systems and support.
              Report Invalid Whois                                                                                           Join now for just $4.95 and get a 100
                                                                                                                             domain monitor pack, free!



                                                                                                                                      Enter email address

                Home | About Us | Catalog | Cart | Payment Options | Legal | Report Spam | Careers | Site Index | Whois | Affiliates | Link to Us




                                     GoDaddy.com is the world's No. 1 ICANN-accredited domain name registrar for .COM, .NET, .ORG, .INFO,
                                                     .BIZ and .US domain extensions. Source: Name Intelligence, Inc. 2005

1 of 2                                                                                                                                                           7/5/2005 9:35 AM
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 48 of 50    PageID #: 334




                                    EXHIBIT I
                  Letter from Defendant AAIMG to “loan provider,”
                            postmarked October 19, 1999
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 49 of 50   PageID #: 335
Case 2:06-cv-00052-DBH Document 9-2 Filed 04/04/06 Page 50 of 50   PageID #: 336
